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                                            IN THE UNITED STATES DISTRICT COURT
                                                NORTHERN DISTRICT OF TEXAS
                                                    FORT WORTH DIVISION

CHAD MARUSAK                                                                                    §
                                                                                                §
             Plaintiff                                                                          §
                                                                                                §
             vs.                                                                                §
                                                                                                §                CIVIL ACTION NO.
SEMA CONSTRUCTION, INC.                                                                         §                4:21-cv-475-P
                                                                                                §
             Defendant                                                                          §
                                                                                                §



 DEFENDANT’S FIRST AMENDED RULE 12 MOTION TO DISMISS, ALTERNATIVE
      MOTION FOR A MORE DEFINITE STATEMENT AND ANSWER TO
      PLAINTIFF’S FIRST AMENDED COMPLAINT SUBJECT THERETO


TO THE UNITED STATES DISTRICT COURT:

             Defendant SEMA CONSTRUCTION, INC. (“SEMA” or “Defendant”) files this First

Amended Rule 12(b)(6) Motion to Dismiss Plaintiff’s First Amended Complaint, in the

Alternative, 12(e) Motion for a More Definite Statement, and Answer to Plaintiff’s First Amended

Complaint (Document 14) Subject Thereto, and, in support thereof, respectfully shows this Court

as follows:

                                                        I.            PRELIMINARY STATEMENT

             In response to Plaintiff’s First Amended Complaint, Defendant again asserts both a Rule

12(b)(6) Motion to Dismiss, and in the alternative, Rule 12(e) Motion for More Definite Statement.

Such Motions have been modified to address the factual allegations contained in Plaintiff’s First

Amended Complaint. However, to the extent this Court believes such issues have already been

resolved through previous rulings, please disregard such Motions.


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                                                           II.          NATURE OF THE ACTION

             Plaintiff Chad Marusak filed the instant First Amended Complaint pro se alleging age

discrimination and harassment and discrimination and harassment based on a disability in violation

of Title VII, the Americans with Disabilities Act, the Age Discrimination Employment Act, the

Rehabilitation Act, First and/or Fourteenth Amendment of the United States Constitution, and

Texas Code. Plaintiff alleges to seek a “FULL remedy” of $300,000.00 “unless the [C]ourt sees

otherwise.”

                                                                 III.          ASSERTED FACTS

             Construed most favorably to Plaintiff, the assertions of facts in Plaintiff’s Complaint appear

to be as follows:

             1.            On or about March 6, 2019, Plaintiff allegedly injured his knee, causing him

 mobility issues.

             2.            At an unidentified time, an unidentified, an alleged, apparent employee of

 Defendant stated to Plaintiff “you can’t do your job.”

             3.            Plaintiff was allegedly demoted and his job was given to a younger, new hire of

 Defendant.

             4.            On June 26, 2019, Plaintiff’s employment with Defendant is terminated.

             5.            From July 1, 2019 through January of 2021, Plaintiff allegedly receives harassing

 communications from an unidentified, apparent employee of Defendant when Plaintiff inquired

 about his last pay stub.

             6.            Defendant refused to provide Plaintiff personal information and blocked Plaintiff

 from accessing his personal information.




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             7.            Plaintiff alleges stalking and harassment from Defendant up and until October of

2020.

             8.             An alleged apology was issued to Plaintiff by an attorney for Defendant after

receipt of an allegedly harassing text from Defendant.

             9.            In September and October of 2020, Defendant suffered a data breach and notified

Plaintiff of such breach.

                                   IV.           12(B)(6) MOTION ARGUMENTS AND AUTHORITIES

             Rule 8(a) of the Federal Rules of Civil Procedure requires that a plaintiff show that he is

entitled to relief by explaining how alleged facts give rise to his claims. FED. R. CIV. P. 8(a). Even

though pro se complaints are to be liberally construed, even such complaints must set forth well-

plead facts giving rise to a claim. Johnson v. Atkins, 999 F.2d 99, 100 (5th Cir. 1993). Rule 12(b)(6)

of the Federal Rules of Civil Procedure provides that a court must dismiss a compliant when a

plaintiff’s allegations fail to state a claim upon which relief can be granted. FED. R. CIV. P.

12(b)(6). A plaintiff’s complaint must contain specific, well-pleaded facts, not mere conclusory

allegations, in order to avoid dismissal pursuant to Rule 12(b)(6). Guidry v. Bank of LaPlace, 954

F.2d 278, 281 (5th Cir. 1992). In ruling on a 12(b)(6) dismissal motion, a court may not look

beyond the face of the pleadings. Spivey v. Robertson, 197 F.3d 772, 774 (5th Cir. 1999).

             Plaintiff’s Amended Complaint provides a collection of seemingly unconnected premises

related to an injury, his relationship with his employer, and a data breach experienced by

Defendant. Plaintiff completely fails to explain or show how these premises connect to state a

claim for age discrimination or discrimination related to an injury under Title VII of the Civil

Rights Act of 1964, and Plaintiff completely fails to describe the factual basis for any such claims.

Merely providing conclusory allegations or listing legal terms and statutes—as Plaintiff has done



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in the instant Amended Complaint— is insufficient to survive a 12(b)(6) dismissal motion. See

Beanal v. Freeport-McMoran, Inc., 197 F.3d 161, 164 (5th Cir. 1999). Accordingly, this Court

should dismiss Plaintiff’s Amended Complaint for failure to state a claim upon which relief can

be granted.

                V.            IN THE ALTERNATIVE, 12(E) MOTION ARGUMENTS AND AUTHORITIES

             To the extent Plaintiff’s Amended Complaint is not dismissed in its entirety, Defendant

moves under Rule 12(e) of the Federal Rules of Civil Procedure for a more definite statement of

any remaining claims. A 12(e) motion is proper when the complaint is vague or ambiguous or does

not contain sufficient information to frame a response. Beanal v. Freeport-McMoran, Inc., 197

F.3d 161, 164 (5th Cir. 1999). Here, to the extent Plaintiff’s claims are not dismissed in their

entirety, Plaintiff should be required to provide a more definite statement with respect to his vague

and ambiguous claims so that Plaintiff can properly frame an answer and response to such claims.

                                                         VI.           FIRST AMENDED ANSWER

(i)          Statement of Facts

             1.            Defendant denies the allegations contained in Plaintiff’s Statement of Facts portion

of the Complaint, including that Defendant committed any discriminatory, retaliatory, or harassing

conduct, or that Defendant has violated Plaintiff’s First or Fourteenth Amendment rights.

             2.            Defendant admits Plaintiff was offered a position with Defendant on or about

February 12, 2019. Plaintiff denies the remaining allegations contained in the first paragraph of

Plaintiff’s Amended Complaint, including allegations related to Plaintiff’s disclosure and

discussion with Defendant of previous injuries.




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             3.            Defendant admits that Plaintiff worked for Defendant. Defendant denies the

allegation that Plaintiff completed all necessary licensing and certification requirements for all

State and Federal jobs contracted to Defendant.

             4.            Defendant admits that Plaintiff alleges that he suffered an injury on or about March

6, 2019, but Defendant is without sufficient information to independently verify whether Plaintiff,

in fact, suffered such injury or the extent of such injury. Accordingly, Defendant denies all of

Plaintiff’s allegations related to the degree and kind of injury suffered by Plaintiff on or about

March 6, 2019.

             5.            Defendant denies the allegation that Plaintiff was demoted.

             6.            Defendant denies the allegation that Plaintiff was told by Defendant that he could

not perform his job.

             7.            Defendant denies the allegation that Defendant regarded Plaintiff as having an

injury which caused difficulty with life functions, which Plaintiff specifically details as walking,

driving, climbing, standing, sitting, bending, showering, dressing, and working on any project or

task.

             8.            Defendant denies the allegations that Defendant replaced Plaintiff in his job

position based on any discriminatory, retaliatory, or harassing reason.

             9.            Defendant denies the allegations that Plaintiff suffered and/or has an impairment

rating and/or record.

             10.           Defendant denies the allegation that Defendant sent criticizing, patronizing,

harassing, or stalking communications to Plaintiff.

             11.           Defendant denies Plaintiff allegation.




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             12.           Defendant denies the allegation that Defendant violated Plaintiff’s First and/or

Fourteenth Amendment rights.

             13.           Defendant denies the allegation that Plaintiff has exhausted his administrative

remedies.

             14.           Defendant denies the allegation that Plaintiff has obtained proper “Right to Sue”

authorization from EEOC for all allegations and causes of action made subject of this suit.

             15.           Defendant denies the allegation that Defendant breached Plaintiff’s personal

information.

             16.           Defendant denies the allegation that Defendant interfered with Plaintiff’s access to

Plaintiff’s personal information.

             17.           Defendant denies the allegation that Defendant harassed Plaintiff.

             18.           Defendant denies the allegation the Defendant stalked Plaintiff.

             19.           Defendant denies the allegation that Defendant subjected Plaintiff to a hostile work

environment.

             20.           Defendant denies the allegation that Defendant communicated with Plaintiff

against Plaintiff’s wishes, electronically or otherwise, including, but not limited to, unwanted,

sarcastic, or belittling communications.

             21.           Defendant denies the allegation that Defendant withheld Plaintiff’s final pay stub.

             22.           Defendant denies the allegation that Defendant modified Plaintiff’s final pay stub.

             23.           Defendant denies any actions alleged by Plaintiff in violation of any applicable law,

including, but not limited to: (1) Title VII or any iteration thereof, amendment thereof, or related

statute; (2) the Americans with Disabilities Act or any iteration thereof, amendment thereof, or

related statute; (3) the Age Discrimination Employment Act or any iteration thereof, amendment



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thereof, or related statute; (4) the Rehabilitation Act or any iteration thereof, amendment thereof,

or related statute; and (5) the United States Constitution or any amendment thereof, including the

First and/or Fourteenth Amendment.

             24.           Defendant denies Plaintiff’s allegations related to the knowledge and/or conduct of

Defendant’s counsel.

(ii)         Causes of Action

             Defendant denies the allegations contained in Plaintiff’s Causes of Action portion of the

Complaint, including that Defendant is entitled to any relief.

             Defendant denies the allegations in Plaintiff’s Causes of Action section relating to

Defendant’s violation of any applicable law, including, but not limited to: (1) Title VII or any

iteration thereof, amendment thereof, or related statute; (2) the Americans with Disabilities Act or

any iteration thereof, amendment thereof, or related statute; (3) the Age Discrimination

Employment Act or any iteration thereof, amendment thereof, or related statute; (4) the

Rehabilitation Act or any iteration thereof, amendment thereof, or related statute; (5) the United

States Constitution or any amendment thereof, including the First and/or Fourteenth Amendment;

and Texas Code or any iteration thereof, amendment thereof, or related statute.

(iii)        Remedy

             Defendant denies the allegations contained in the Remedy section of Plaintiff’s Amended

Complaint, including, but not limited to, the allegation that Plaintiff is entitled to monetary relief.

(iv)         Final Statement

             Defendant denies the allegations contained in the Final Statement section of Plaintiff’s

Amended Complaint, including, but not limited to, Plaintiff’s allegations related to Plaintiff’s

injuries and/or medical history.



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(v)          Affirmative Defenses

             1.            By pleading the following defenses, pursuant to Rule 8(c) of the Federal Rules of

Civil Procedure, Defendant does not concede that it possesses or assumes the burden to prove each

or any of these defenses. Defendant maintains that Plaintiff retains the burden of proof on all

matters necessary to state and sustain the claims asserted in the Complaint.

             2.            Plaintiff has failed to timely file suit and some or all of his claims are barred by the

applicable statue of limitations.

             3.            Plaintiff has failed to exhaust administrative remedies for some or all of his claims.

             4.            Plaintiff has not obtained a right to sue from the EEOC based on a filed charge of

discrimination for some of all of his claims.

             5.            Plaintiff’s allegations and claims exceed the scope of the allegations in the charge

of discrimination.

             6.            Plaintiff has failed to timely file suit and some or all of his claims are barred by

EEOC and Federal guidelines.

             7.            Plaintiff’s allegations and claims are barred by the doctrine of issue preclusion as

they are already the subject of an active, pending United States Department of Labor Office of

Administrative Law case.

             8.            Plaintiff’s allegations and claims are barred by the doctrine of claim preclusion as

they are already the subject of an active, pending United States Department of Labor Office of

Administrative Law case.

             9.            The decisions Plaintiff challenges were based upon reasonable business factors

other than unlawful discrimination.




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             10.           Plaintiff fails to state a prima facie case under any of the claims or causes of action

he asserts, in the alternative, assuming Plaintiff has stated a prima facie case, all conduct and/or

action on the part of Defendant concerning Plaintiff were wholly based upon legitimate, non-

discriminatory and/or non-retaliatory reasons.

             11.           Defendant denies Plaintiff is entitled to recover any damages or other relief.

             12.           Defendant asserts all applicable statutory limitations with respect to Plaintiff’s

damage claims.

             13.           Defendant reserves the right to assert additional defenses, affirmative or otherwise,

upon further investigation and discovery into matters alleged.

                                                                     VII.          CONCLUSION

             WHEREFORE, PREMISES CONSIDERED, SEMA Construction, Inc. prays that Plaintiff

take and recover nothing by his action herein, that SEMA recover its costs, and for such further

relief both at law and in equity to which SEMA may show itself to be justly entitled.

                                                                                  Respectfully submitted,


                                                                                  /s/ Daniel R. McCabe
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                                                                                  ATTORNEYS FOR DEFENDANT SEMA CONSTRUCTION,
                                                                                  INC.


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                                                          CERTIFICATE OF SERVICE

       This is to certify that on the 24th day of May, 2021, a true and correct copy of the foregoing
was served on the following via e-mail:

Chad Marusak
404 N. Ave. F
Olney, Texas 76374
Transportationwithcm@gmail.com


                                                                                  /s/ Daniel R. McCabe
                                                                                  Daniel R. McCabe




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